 

NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE

CLEVELAND COUNTY SUPERIOR COURT DIVISION

FILE: 20 CVS

GARDNER-WEBB UNIVERSITY,
Plaintiff, a7

COMPLAINT *, 5
PRO FORM SPORTS. LLC; and fo
GARY WILSON; 8,

Defendants.

 

 

NOW COMES Plaintiff, by and through Delton W. Barnes of King Law
Offices, PLLC, complaining of Defendants, alleges and says the following:

PARTIES, CAPACITY, JURISDICTION, AND VENUE

1. Plaintiff is a non-profit, institution of higher education formed under the
laws of North Carolina. Plaintiff is located in Boiling Springs, North
Carolina, which is within Cleveland County.

2. Defendant Pro Form Sports, LLC is a limited liability company formed
under the laws of Florida, principally located in Leon County, Florida, and
conducts business in the State of North Carolina.

3. Upon information and belief, Defendant Gary Wilson is a citizen and
resident of Leon County, Florida.

4. Upon information and belief, the Defendants are not incompetents, minors,
nor members of the armed services.

5. Defendant Gary Wilson is the Chief Executive Officer of Pro Form Sports,
LLC.

6. This is an action for Breach of Contract, Money Owed and to Pierce the
Corporate Veil.

7. This Court has personal jurisdiction over Defendant Pro Form Sports, LLC
in the following particulars:

 

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a. Pro Form Sports, LLC, conducts substantial activity in North
Carolina having previously done at least one major project on the
athletic facilities at Gardner-Webb University, N.C.G.S. § 1-
75.4(1)(d);

b. This cause of action arises out of promises made between Plaintiff
and Pro Form Sports, LLC, to be performed in North Carolina.
N.C.G3S. § 1-75.4(5).

c. This cause of action arises out of promises made to and by Pro Form
Sports, LLC, which affect improvements of real property owned by
Plaintiff. N.C.G.S. § 1-75.4(6).

d. Pro Form Sports, LLC, consented to and waived personal
jurisdiction in North Carolina in the written agreement with
Plaintiff.

8. This Court has personal jurisdiction over Defendant Gary Wilson in the
following particulars:

a. Gary Wilson conducts substantial activity in North Carolina by
virtue of his position with Defendant Pro Form Sports, LLC, having
previously done at least one major project on the athletic facilities at
Gardner-Webb University, N.C.G.S. § 1-75.4(1)(d);

b. This cause of action arises out of promises made between Plaintiff
and Gary Wilson, to be performed in North Carolina. N.C.GS. § 1-
75.4(5).

c. This cause of action arises out of promises made to and by Gary
Wilson, which affect improvements of real property owned by
Plaintiff. N.C.G.S. § 1-75.4(6).

d. Gary Wilson, consented to and waived personal jurisdiction in
North Carolina in the written agreement with Plaintiff.

9. Venue is proper in Cleveland County, North Carolina for the reasons stated
above and pursuant to N.C.GS. § 1-80 and § 1-82

 

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FACTUAL BASIS FOR CLAIMS

10. On August 9, 2019, Plaintiff and Defendants entered into an agreement in
which Defendants agreed to reimburse Plaintiff for the cost of labor and
materials necessary to complete the artificial turf project for Plaintiffs
baseball stadium.

11. In consideration for the Defendants’ reimbursing of the project, Defendant
Gary Wilson is to receive a lifetime paid membership to the University’s
booster club, the Bulldog Club.

12. In Consideration for the Defendants’ reimbursing of the project, Defendant
Pro Form Sports is to receive a sponsorship signage with the University’s
athletic facilities for five-years.

13. Defendants jointly and severally agreed to reimburse Plaintiff for the full
amount of the actual cost to complete the project.

14. Defendants agreed to begin reimbursing Plaintiff in 12 equal consecutive
monthly installments beginning 30 days after substantial completion of the
project, with the entire amount to be paid in full by August 31, 2020.

15. This agreement was memorialized into a written contract, attached hereto
as Exhibit “A” and incorporated herein, which was signed by Defendants.

16. Plaintiff has performed its duties under the agreement.

17. In or around October 2019, the project at the baseball field was substantially
completed. The total cost of the completed project to Plaintiff was
$523,482.98.

18. On November 21, 2019, Plaintiff began invoicing Defendant $52,348.30 per
month in accordance with the terms of the agreement.

19. As of the date of this Complaint, Defendants have been invoiced the
amount of $209,393.20.

20. On February 5, 2020, Plaintiff made a demand on Defendants to pay the
amount then due and owing of $157,044.90.

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21. To date, no payments have been made by Defendants.

22. Based upon Defendant Pro Form Sports, LLC’s actions, Plaintiff fears that
it is an inadequately funded company, does not follow corporate
formalities, is controlled by individuals and entities outside of its corporate
structure and lack corporate independence. Furthermore, Plaintiff fears that
the third-party control over Defendant Pro Form Sports, LLC was used in
contravention of Plaintiff's legal rights and proximately caused the
damages alleged herein. Therefore, Plaintiff is placing Defendants on notice
and reserves its claim to pierce the corporate veil.

FIRST CLAIM FOR RELIEF
(Breach of Contract)

23. The Parties negotiated and achieved mutual assent to the terms outlined in
the attached contract. There was an offer, acceptance, and good and
valuable consideration.

24, Defendants materially breached the contract by failing to satisfy the
invoices rightfully billed upon substantial completion of the project.

25. Plaintiff is able and willing to perform on the contract.

26. Defendants have anticipatorily breached the contract and the full amount
is due and owing.

27. Plaintiff is entitled to recover the cost of the project totaling $523,482.98.

SECOND CLAIM FOR RELIEF
(Money Owed)

28. Plaintiff is entitled to recover $523,482.98 from Defendants for money owed
to Plaintiff.

29. Plaintiff has incurred costs and expenses promised to be reimbursed by
Defendants in the amount of $523,482.98 for which the Defendants have not
paid. This created a debt to Plaintiff that is due and owing.

 

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THIRD CLAIM FOR RELIEF
(Piercing the Corporate Veil)

30, Plaintiff is putting the Defendants on notice that it may be entitled to pierce
the corporate veil of Defendant Pro Form Sports and potentially unknown
corporations and individuals to recover monies owed by virtue of the
claims within this complaint.

WHEREFORE, Plaintiffs, pray the Court for relief as follows:

1. That the Plaintiff receive a judgment against Defendants jointly and
severally in the amount of $523,482.98 plus interest from the due date of the
invoices.

2. That costs, including attorney’s fees, be taxed against Defendants pursuant
to N.C.GS. § 6-20.

3. That Plaintiff pierce the corporate veil so as to recover damages as justice
requires.

4. That Defendants be taxed with the costs of this acHon.

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That Plaintiffs have and recover such other and further relief as the Court
may deem just and proper.

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Signed this as day of February, 2020.

KING LAY OFFICES, PLEC

 

 

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CLEVELAND COUNTY SUPERIOR COURT DIVISION
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GARDNER-WEBB UNIVERSITY,

Plaintiff,

Vv. VERIFICATION

PRO FORM SPORTS. LLC; and
GARY WILSON;
Defendants.

 

 

STATE OF NORTH CAROLINA
COUNTY OF CLEVELAND

Dr. William Downs, being first duly sworn, deposes and says that he is an
authorized agent of the Plaintiff in the above-captioned matter; that he has read
the foregoing Complaint and knows the contents thereof and that the same are
true to his own knowledge except as to those matters stated on information and
belief, and as §o those matters he believes them to be true.

 

 

SWORN TO AND SUBSCRIBED BEFORE ME

 

this the OM day of February 2030

Mueproni kpns Pysorad

Notary Public

My Commission Expires: November 4, aoa

 

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ay GARDNER-WEBB
UNIVERSITY
August 9, 2049

EAHIBIT
Gary Wilson
Mary Roberts
Pro Farr Sports

215 §. Monroe Street, Ste. 320
Tallahassee, Fil 32301

 

Gary and Mary,

I"m writing to thank you for your continued support to the University and to outline the arrangements
that we understand you and Mary Roberts, Pro Form Sports President, have made to facilitate
completion of the project at the University’s baseball fleld. Please take a few moments to review the
terms of our agreement with you and Pro Form Sports regarding the generous gift to the University te
which you and Pra Form have cormmitted. if the terms set out are acceptable and consistent with your
understanding of the commitment, please acknowledge with your signature.

i. You, personally and jointly with Pro Form Sports, have agreed to reimburse the University for
the cost of labor and materials necessary to complete the artificial turf project for Gardner-
Webb University which is currently under construction at the University’s baseball stadium.
Further, Pro Form Sports has agreed to provide, at its own cost and at no expense to the
University, any assistance and expertise needed to finish the project in a timely, professional,
and warrantable manner and to provide 3 warranty covering the product and its installation. in
recognition of your gift, the University agrees to offer you (Gary Wilson) a lifetime paid
membership in the GWU Bulldog Club. Further, the University will provide Pro Form Sports with
sponsorship signage (at the location and discretion of the VP for Athletics) within our athietic
facilities for a period of S years. Pro Form Sports and the University have agreed that for legal
purposes this agreement shall be governed by North Carolina law without regard to its conflicts
of law principles.

2. As phase one of this work has already been completed, Pro Form Sports will provide to GWU

list of all vendors, material suppliers and contractors who have contributed to the project thus

far. This list shall include value of work completed, invoiced amounts, pald amounts, and
outstanding balances due for work cornpieted as of this date. Pra Form agrees 6 pay any
saiances due for this portion of the project and to provide flen releases from all suppliers and
vendors from this portion of the project.

GWU agrees to complete the work remaining on the project as General Contractor and Pro Form

Sports agrees to provide GWU with the timely assistance and expertise needed to complete the

work in a professionai and warrantable manner. Pro Form Sports will provide to GWU a full

warranty on the finished product/project on the same warranty terms as nermally provided by

Pro Form Sports to its purchasers of the same or similar products and installation. The terms of

the warranty shall be provided at execution of this agreement. .

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4. GWU agrees to advance the funds to complete the project, estimated tc be in the amount not
to exceed $490,000. An exhibit of estimated expenses [s attached. Gary Wilson and Pro Form
Sports, jointly and severally, agree to repay GWU the full amount of the actual cost to complete
the project, currently estimated at $450,000, in 12 equal consecutive monthly installments
beginning 30 days after substantial completion of the project with the entire amount to be paid
in full by August 31, 2020. tt is understood by the parties that the total amount to be reimbursed
to GWU shall not exceed the total cost necessary for GWU to complete the project and that
GWU will make any necessary payment adjustments at the conclusion of the project and will
provide copies of any invoices and payments to you and Pro Form Sports upon request. You
and Pro Form Sports acknowledge and agree that the cost to the University to complete this
project is not an expense for which the University has budgeted and that this project would not,
and could not, have been undertaken without the support of this generous gift.

Again, | would like to thank both you and your company for your ongoing generous support of Gardner-
Webb University and we look forward to the successful completion of the project made possible by your
commitment.

Sincerely,

Chuck Burch

Vice President for Athietics
Gardner-Webb University

This gift agreement is acknowledged and agreed to by:

Sox 2 /— Date: F /s
CO

Gary Wilson,
Personally and on behalf of Pro Form Sports

May. Pelee ow sal

Mary Roberts,
President, Pro Form Sports

 

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GWU Estimate to Complete
Turf - FL416-~42 Fleid Green $249,676.17
Turf - FL416-42 Red Clay $36,347.33
Seam Tape $2,525.60
Adhesive $25,200.00
Freight on Adhesive / Seam Tape $3,000.00
Freight on Turf $8,000.00
Sand $29,459.03
Rubber infill $26,358.08
Turf installation Labor $74,523.75
Dumpster Rental $1,000.00
Forklift $500.00
Soil removal, restoration and misc expenses $25,000.00
Contingency $8,410.06

 

 

 

Estimate to Complete: $490,000.00

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